Case 5:23-cv-00032-RWS Document 59-15 Filed 12/08/23 Page 1 of 1 PageID #: 1077




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION

 ALEXANDRA DAVIS,
     Plaintiff,

 vs.                                                   CIVIL ACTION No. 5:23-cv-00032-RWS

 JERRAL W. JONES, DALLAS COWBOYS
 FOOTBALL CLUB, LTD., JAMES
 WILKINSON, TRAILRUNNER
 INTERNATIONAL, LLC, and DONALD
 JACK, JR.
       Defendants.


               ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS
                   PLAINTIFF’S FIRST AMENDED COMPLAINT

        On this date, the Court considered the Motion to Dismiss Plaintiff’s First Amended

 Complaint filed by Defendants Jerral W. Jones, Dallas Cowboys Football Club, Ltd., James

 Wilkinson, TrailRunner International, LLC, and Donald Jack, Jr (the “Motion”). The Court,

 having considered the Motion, briefing in support of the Motion, arguments, and evidence, as well

 as responses, pleadings, and papers on file, hereby orders that the Motion be GRANTED.

        It is therefore ORDERED, ADJUDGED, and DECREED that Plaintiff’s claims against

 Defendants Jerral W. Jones, Dallas Cowboys Football Club, Ltd., James Wilkinson, TrailRunner

 International, LLC, and Donald Jack, Jr. are DISMISSED in their entirety with PREJUDICE.
